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                                         UNITED STATES DISTRICT COURT
                                            DISTRICT OF NEW JERSEY


UNITED STATES OF AMERICA                 Hon. Stanley R.Chesler

            V.                           Crirn. No.09—863

MICHAEL C. SCIARRA,
   a/k/a “the Old Man”
   and “Big Mike,”
PETER VENTRICELLI,
MICHAEL A. SCIARRA,
   a/k/a “Little Mike,”
MARK VENTRICELLI

                        ORDER FOR CONTINUANCE


            This matter having come before the Court on the

application of Paul J.      Fishman, United States Attorney for the

District of New Jersey V. Grady O’Malley,        Senior Litigation

Counsel,   with the consent of the above named defendants by their

counsel,   for an order granting a continuance of the proceedings

in the above-captioned matter, and the defendants being aware

that each has the right to have the matter brought to a speedy

trial pursuant to Title 18 of the United States Code,           Section

3161(c) (1),     and as the defendants having consented to such a

continuance,      and for good and sufficient cause shown,

            IT IS THE FINDING OF THIS COURT that this action should

be continued for the following reasons:

            (1)    Trial for the above captioned case is scheduled

for January 4,     2011.   The charges in this case being the result
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                                                                              )




of a lengthy investigation, and the discovery being voluminous,

including numerous audio recordings; and,

            (2)    Counsel for all parties have exercised diligence

in their efforts to prepare.       However, the government has

recently been required to substitute counsel based upon the

extraordinary amount of time required by the assigned AUSA,

Leslie Schwartz, to prepare and try over the past six weeks the

matter of U.S. v.      David Moro (WHW).     The facts of this case,

including the review of dozens of lengthy tape recordings, are

sufficiently complex that it would be unreasonable to expect a

newly assigned AUSA to adequately prepare for trial by January 4,

2011;

           (3)    Furthermore, plea negotiations have been successful

to the extent that the United States and at least one defendant

have come to an agreement upon a plea resolution which, after

said plea, could lead to one or more additional pleas;

           (4)     As a result of the foregoing, pursuant to Title

18, United States Code,     Section 3161(h) (7), the ends of justice

served by granting the continuance outweigh the best interest of

the public and the defendant in a speedy trial.

          IT IS,     therefore, on this     f     day of
           ORDERED that trial of this matter is hereby adjourned

until May 10,     2011; and it is further




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          ORDERED that the period from the date of this order

through May 10, 2011 shall be excludable in computing time under

the Speedy Trial Act of 1974.




                                          Stanley R. Che5ler
                                    United States District Judge



     -/


V. Grady O’MalleyM3SA
Senior Litigtion counsel



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MichaeL C. Sciarra



Anthony Pope, Esq. for
Michael A. Sciarra


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                     for




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Mark Ventricelli




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  Michael C. Sciarra




 Arthur Abrams, Esq for
 Peter Ventricelli



 Gerald D. MilLer, Esq. for
 Mark Ventricelli




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 Michael A. Sciarra



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